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 9    Attorneys for Plaintiffs
10                     THE UNITED STATES DISTRICT COURT
11                      CENTRAL DISTRICT OF CALIFORNIA

12    KATRINA HARRIS, et al.                  ) Case No.: 5:19-cv-02184-JGB-SP
13                                            )
                         Plaintiffs,          )
14            vs.                             ) NOTICE OF SETTLEMENT
15                                            )
      68-444 PEREZ, INC. dba                  )
16    SHOWGIRLS, a California                 )
17    corporation; ABDUL WAHAB                )
      SHAWKAT, an individual; DOE             )
18    MANAGERS 1-3; and DOES 4-               )
19    100, inclusive,                         )
                                              )
20                      Defendants.           )
21                                            )
                                              )
22                                            )
23                                            )
                                              )
24                                            )
25                                            )
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26                                            )
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 1          COME NOW plaintiffs Katrina Harris, Rebecca Anspach, Karli Beckett,
 2    Caitlynn Boles, Crystal Corona, Antonia Crane, Melissa Duran, Rylee Ferguson,
 3    Akilah Hammond, Kimberly Hoyer, Mandy Johnson, Alexandra Mantikas,
 4    Shanon Nuckols, Vanessa Ruiz, Andjela Suka, and Neli Velazquez (collectively,
 5    “Plaintiffs”) and inform this Court that Plaintiffs and defendants 68-444 Perez,
 6    Inc. dba Showgirls and Abdul Wahab Shawkat (collectively, “Defendants”)
 7    attended an all-day mediation with Hon. Richard Stone (Ret.) on December 5,
 8    2020. At the end of the mediation, Judge Stone offered a Mediator’s Proposal and
 9    allowed time for Plaintiffs and Defendants to consider the Mediator’s Proposal.
10    On December 11, 2020, Judge Stone confirmed that Plaintiffs and Defendants
11    had accepted the Mediator’s Proposal and that a settlement was reached.
12          Plaintiffs request that this Court vacate all pending dates and deadlines and
13    allow thirty (30) days within which to file a motion for approval pursuant to the
14    Fair Labor Standards Act.
15
16    Dated: December 15, 2020                Respectfully submitted,
17
                                              KRISTENSEN LLP
18
19                                            /s/ John P. Kristensen
20                                            John P. Kristensen
                                              Jesenia A. Martinez
21                                            Alejandro Marin
22                                            Attorneys for Plaintiffs
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                           CERTIFICATE OF SERVICE

     I certify that on Tuesday, December 15, 2020 a true and correct copy of the
 attached NOTICE OF SETTLEMENT was served via CM/ECF upon all
 participants of record, including the following parties listed below, pursuant to Fed.
 R. Civ. P. 5:
 Steven J. Shapero                           Andrea L. Cook
 SHAPERO & SHAPERO                           ANDREA COOK & ASSOCIATES
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                                                        /s/ John P. Kristensen
                                                          John P. Kristensen
